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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                (Greenbelt Division)

                                                      )
IN RE:                                                )
                                                      )      Case No. 19-15478
LUIS FRENANDO CORREA                                  )
                                                      )      Chapter 7
                                                      )
              Debtor.                                 )
                                                      )

              TRUSTEE’S APPLICATION TO EMPLOY REALTOR FOR ESTATE
         COMES NOW Janet M. Nesse, Trustee (“Trustee”) of the Chapter 7 bankruptcy estate

of Luis Frenando Correa ("Debtor"), by and through her undersigned attorneys, McNamee,

Hosea, Jernigan, Kim, Greenan & Lynch, P.A., and in support of her Application to Authorize

the Retention of Realtor, pursuant to 11 U.S.C. § 327, respectfully represents as follows:

         1.   This case was filed on April 23, 2019, under Chapter 7 of the United States

Bankruptcy Code.

         2.     The Trustee is the duly qualified Trustee of this case.

         3.     The Trustee proposes to hire Lauren Kline of Long and Foster Real Estate as the

realtor (“Realtor”), in connection with the sale of the Debtors’ interest in the real property

located at 23803 Branchbrier Way, Clarksburg, MD 20871 (“Property”).

         4.    In order to liquidate the Property for the benefit of the estate and its

creditors it will be necessary to retain a realtor.

         5.    The Trustee is satisfied that the best and highest recovery to the estate will

come from a private sale of the Property.

         6.    The Realtor is to receive a commission of 6% of the gross sales price if the

Property is sold at private sale as result of her effort. The rate of commission requested is
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 customary for the sale of real property in Maryland.

          7.    The Trustee believes and alleges that employment of the aforesaid Realtor is

 in the best interest of the estate, and that the Court should approve such employment as

 provided in 11 U.S.C. Section 327 (a). The Realtor’s Verified Statement evidencing her

 disinterestedness, within the meaning of 11 U.S.C. § 327 (a), is attached hereto as Exhibit A.

         WHEREFORE, Janet M. Nesse, the Chapter 7 Trustee, respectfully requests that this

Court:

         a.     Grant the Trustee’s Application to Authorize Retention of Realtor for Estate;

         b.     Authorize the Trustee to retain Lauren Kline of Long and Foster Real Estate on

the terms and conditions set forth above;

         c.      Authorize the Trustee to pay the Realtor her commission from the proceeds of

 the sale at closing without further order of the Court; and

         d.      Grant such other and further relief as is just and proper.


 Dated: June 11, 2019                          Respectfully submitted,

                                               /s/ Janet M. Nesse
                                               Janet M. Nesse, No. 07804
                                               McNamee, Hosea, Jernigan, Kim,
                                               Greenan & Lynch, P.A.
                                               6411 Ivy Lane, Suite 200
                                               Greenbelt, MD 20770
                                               (301) 441-2420
                                               jnesse@mhlawyers.com

                                               Counsel for Chapter 7 Trustee




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of June, 2019, a copy of the foregoing Application
 to Authorize the Retention of Realtor for Estate, was served via first class mail, postage prepaid,
 upon the following:

Office of the U.S. Trustee
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Greenbelt, MD 20770

Lauren Kline
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 Luis Fernando Correa
 13318 Country Ridge Dr
 Germantown, MD 20874-1152

                                                        /s/ Janet M. Nesse
                                                        Janet M. Nesse, Trustee




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